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                     Defendant
Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 2 of 44
          Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 3 of 44




                                                                             Hearing on

Russian    Active   Measures   Investigation




                                    Id.




                                                     Attorney General Sessions Statement
on Recusal
                                     id.
                                               See                  In re: Grand Jury
Investigation                                        rehg en banc denied
Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 4 of 44



                    Id.




                                                             Id




                   Id




   E.g.,
          Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 5 of 44




                                                                      United States v.

Knowles                                    affd sub nom. United States v. Thompson




                                                                     United States v.

Armstrong
           Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 6 of 44




                                                                      United States v.

Fokker Servs. B.V.

                                                                        United States

v. Nixon                             see



                                           Armstrong

           see, e.g., In re Aiken County

Community for Creative Non-Violence v. Pierce                                see also

Buckley v. Valeo



Nixon                     see Fokker Servs.                  Pierce          Nader v.

Saxbe                                         Powell v. Katzenbach




                                                                         see Eastland

v. United States Servicemens Fund
           Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 7 of 44




                        see Armstrong,




                                                             Cf.




                                                                              Medellin

v. Texas



                                                   See, e.g. Mistretta v. United States
         Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 8 of 44




                                         Cf. Moore v. United States House of Representatives




                                                                   See Armstrong,

Fokker Servs.                   Nader




                                Buckley




                                                      Loving v. United States

        see Free Enter. Fund v. Pub. Co. Accounting Oversight Bd.



                         See Mistretta




                       Metropolitan Washington Airports Auth. v. Citizens for the Abatement of

Aircraft Noise, Inc.                                     J.W. Hampton, Jr., & Co. v. United States
Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 9 of 44



                see id.



                                                     Bowsher v. Synar



                                                                        Id.

see also INS v. Chadha




                     See In re Grand Jury Subpoena (Miller)
           United States v. Blackley
        Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 10 of 44




      1. The text of the permanent appropriation applies here




                                     Id.




                                                                   Blacks Law

Dictionary



                                                   see



                             Office of Special Counsel
        Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 11 of 44




    or other law.

                 et seq.



                                                                               See

In re: Grand Jury Investigation                               rehg en banc denied

                                  Nixon             In re Sealed Case,

                                                              See id.




United States v. Concord Mgmt. & Consulting LLC

         Nixon

                                   see id.
        Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 12 of 44



                                                                    i.e.




                                                                                            see id.




               See Blacks Law Dictionary




                                     E.g. The Future of the Independent Counsel Act, Hearings

Before the S. Subcomm. on Govt Affairs

                                                 see id.                           id.




         See also, e.g., Reauthorization of the Independent Counsel Statute, Pt. I, Hearings Before
the Subcomm. on Commercial & Admin. Law of the H. Comm. On the Judiciary
                                                                       id.
                     id.                                        id.
                                                         1996 Campaign Finance Investigations,
Hearings Before the Subcomm. on Admin. Oversight & the Courts of the S. Comm. on the
Judiciary
        Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 13 of 44




                                                    E.g., United States v. Tucker




       2. The permanent appropriations history confirms its applicability




        See also, e.g., Western Journalism Ctr. v. Office of the Indep. Counsel
                         United States v. McDougal


Confirmation Hearings on Federal Appointments, Hearings Before The Comm. On the Judiciary

                                                 Independent Counsel Expenditures for the Six
Months Ended September 30, 1995                                             Expenditures by
Four Independent Counsels for the Six Months Ended March 31, 1994
Independent Counsel or Special Prosecutor For the Enron Investigation
        Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 14 of 44




                                    See, e.g., In re Persico

                                                                              See

               Concord Mgmt. & Consulting LLC supra




                                                      First Session on Special Prosecutor:

Hearings before the S. Comm. on the Judiciary




                                         See                                        Nixon




                                                                    Nixon




                                                                                 See, e.g.,

Morrison v. Olson
        Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 15 of 44




                                            Offices of Independent Counsel; General Powers

and Establishment of Independent CounselIran/Contra                                    see



                                                       see also In re Sealed Case,




                                                                      see

                                                         see also Implementation of the U.S.

Dept of Justices Special Counsel Regulation, Hearing Before Subcomm. on Commercial &

Admin. Law, of the H. Comm. on the Judic.




                   see
 Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 16 of 44




3. Longstanding practice underscores the argument
        Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 17 of 44




                                       see



                                    See        Independent Counsel Expenditures for the Six

Months Ended September 30, 1995




       Id.




        United States v. Libby



                                    See         Special Counsel and Permanent Indefinite

Appropriation,



               Independent Counsel Expenditures for the Six Months Ended September 30, 1999
                        Independent and Special Counsel Expenditures for the Six Months Ended
March 31, 2000                                              Independent and Special Counsel
Expenditures for the Six Months Ended September 30, 2000
Independent and Special Counsel Expenditures for the Six Months Ended March 31, 2001
                    Independent and Special Counsel Expenditures for the Six Months Ended
September 30, 2001
        Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 18 of 44




                                                             see




          See, e.g.,        Expenditures by Four Independent Counsels for the Six Months Ended

March 31, 1994                                              Independent and Special Counsel

Expenditures for the Six Months Ended March 31, 2000

                       Independent and Special Counsel Expenditures for the Six Months Ended

March 31, 2004



         Accord         Independent and Special Counsel Expenditures for the Six Months Ended
September 30, 2000                       Independent and Special Counsel Expenditures for the
Six Months Ended March 31, 2001                             Independent and Special Counsel
Expenditures for the Six Months Ended September 30, 2001
          Accord        Independent and Special Counsel Expenditures for the Six Months Ended
September 30, 2004                              Independent and Special Counsel Expenditures
for the Six Months Ended March 31, 2005                              Independent and Special
Counsel Expenditures for the Six Months Ended September 30, 2005
Independent and Special Counsel Expenditures for the Six Months Ended March 31, 2006
                    Independent and Special Counsel Expenditures for the Six Months Ended
September 30, 2006                       Independent and Special Counsel Expenditures for the
Six Months Ended March 31, 2007                              Independent and Special Counsel
Expenditures for the Six Months Ended September 30, 2007                              Audit of
Special Counsel Expenditures for the 6 Months Ended March 31, 2008
               Review of Special Counsel Expenses for the 6 Months Ended September 30, 2008
          Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 19 of 44




                                                                                       Special

Counsel and Permanent Indefinite Appropriation,




                                                               Id.




                                                                Id.       see id.




                                                                           Id.




                                                  Id.




                                                                                 Id.

see id.




                                   Final Review of Expenses from the Department of Justice
Permanent Indefinite Appropriation Covering the 7-Month Period Ending September 30, 2009
Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 20 of 44




                         Id.         see id.




              Id.



                               Id.




  Id.



                                                     Id.



        Id.



                                     Id.
Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 21 of 44




                                                 compare id.      with




                                   See




                                                 Id.




                             See              see also id.
         Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 22 of 44



        See In re: Grand Jury Investigation                         Sealed Case

see also Morrison                                                           Nixon




                                                 See Libby                          Sealed

Case see also



    See Libby                    see also In re: Grand Jury Investigation

Sealed Case




E.g.,




                                                                                       see
        Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 23 of 44




                                                                See Sebelius v. Auburn

Regl Med. Ctr.,




       1. Stone has no right to have the Indictment dismissed




                                                                        See generally




also
        Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 24 of 44




                                                                                          Cf.

Clapper v. Amnesty Int'l USA




                                                   Byrd v. United States

       see Wong Sun v. United States




                                                                    E.g.


                                                                              See id.

                                                      See



                                       See Reimbursement for Detail of Judge Advocate General
Corps Personnel to a United States Attorneys Office
        Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 25 of 44



                                                                            Lexmark Intl, Inc. v.

Static Control Components, Inc.



                                                                                  Cf. Hazardous

Waste Treatment Council v. Thomas




Moore v. Navy Pub. Works Ctr.




                                                  See, e.g., OPM v. Richmond
                                                                          a statute
        United States Dept of the Navy v. Fed. Labor Rels. Auth.

                                         without statutory authority                      United
States House of Representatives v. Burwell
                                                                       no
Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 26 of 44




                                                                                  see

                                                                     inter alia




                                see In re Grand Jury Investigation




                                                       See

                                               i.e.,




                  See



   Bank of Nova Scotia v. United States



                        Id
        Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 27 of 44




                            See supra




                                                                             See




         See, e.g., United States v. Fowlie

                             United States v. Durham

                                                       United States v. Plesinski

                                                                 see also United States v.

Vance
       Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 28 of 44




                                                                     United States v.

McIntosh

                         McIntosh

                                                         Id.               see id.



                                Id.



                                                   Id.



                                                               Id.          see id.



                                  See id.




                                                                                     Id.

            see, e.g., United States v. Carrillo



                                                                       United States
         Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 29 of 44



v. Pisarski

              United States v. Campbell




                                                                        McIntosh




              McIntosh

       2. Stone has no right to a permanent injunction




                                                 see eBay Inc. v. MercExchange, L.L.C.



                                           see Armstrong



        See Manafort v. U. S. Dept of Justice
          Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 30 of 44




                                                     In re Al-Nashiri

         see Deaver v. Seymour                                          id.

                           see also O'Shea v. Littleton




               See Manafort




                       Dombrowski v. Pfister                            see Rondeau v. Mosinee

Paper Corp.




                   see supra

                               See

see also id.                                   id.



                                                                              See Davis v. United

States
       Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 31 of 44



                                                                                              see

Hudson v. Michigan



                                             Herring v. United States




                                               Hudson                   see Utah v. Strieff



          See id.



                                                            Wong Sun




                    See New York v. Harris




                            See Intercollegiate Broad. Sys., Inc. v. Copyright Royalty Bd.
         Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 32 of 44



                                                            Doolin Sec. Sav. Bank v.

Office of Thrift Supervision



                  Andrade v. Regnery



                                                           see also Federal Election

Commn v. Legi-Tech, Inc.




                               McIntosh                            McIntosh




                Id.




                                                    See United States v. Gooch
    Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 33 of 44




individuals associated with




                              accord id.
Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 34 of 44



                                          see supra




   See In re: Grand Jury Investigation                       see also infra




                 See Nixon v. Administrator of Gen. Servs.
        Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 35 of 44




               Clinton v. Jones                            see also id.




                                                                              A Sitting

Presidents Amenability to Indictment and Criminal Prosecution




                                    But cf.



                                                       See Clinton v. Jones

    Administrator of Gen. Servs.                see Nixon v. Fitzgerald

       Nixon




                                        United States v. Nixon                   Nixon




                       Id.
         Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 36 of 44




                Id.



                                                               Id.




                                                         See

                                                                     In re: Grand Jury

Investigation



                                                  Id.                Edmond v. United

States




                                            Id.




                                                        see, e.g.,
        Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 37 of 44



                                            see                       In re: Grand Jury

Investigation supra                         see also In re: Grand Jury Investigation

                                 affd               Concord Mgmt. & Consulting LLC




                                  In re Grand Jury Investigation



                                           See generally




                                                                         See
        Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 38 of 44




          Marbury v. Madison




                         Id.



                                   Id.



                                           Id. see id.




         See id.

                                                    Marbury

                                                                          Id.




                                                                            See
Nippon Steel Corp. v. United States ITC,
         Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 39 of 44



                                                         Id.         see also Dysart v. United

States



              Nippon Steel Corp. v. U.S. Int'l Trade Commn




                       Marbury

                                                               Marbury




                Id.




                          Id.   In such a case



                                        Id.

                                                                                           Id.




                                                                                           id.
        Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 40 of 44



                                                                           Free Enter.

Fund



                                             See id.            cf. Morrison v. Olson




              Edmond




                       See Marbury                                        see generally

NLRB v. Noel Canning




                                                                          In re: Grand

Jury Investigation

                             Id.                 United States v. Nixon
          Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 41 of 44




Id.



               Id. see also Sealed Case,




                     See supra




                                                         Nixon             Sealed Case
      In re: Grand Jury Investigation

                                             See Brandt Trust v. United States
       Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 42 of 44



                                                                                          See




            See, e.g., Reauthorization of the Independent Counsel Statute, Pt. I, Hearings Before

the Subcomm. on Commercial & Admin. Law of the H. Comm. on the Judiciary




                                                                     Id.

id.                                             id.                                     see also
        Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 43 of 44




                                                         see, e.g., Nixon




                                                        See Franklin v. Massachusetts

                     Public Citizen v. U.S. Dept of Justice

Sale v. Haitian Centers Council                           see also The Constitutional Separation

of Powers Between the President and Congress                                   Application of 28

U.S.C. § 458 to Presidential Appointments of Federal Judges



                                                                                            See

supra
Case 1:19-cr-00018-ABJ Document 99 Filed 05/07/19 Page 44 of 44




                                     /s/
